                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )
                                                      )       Crim. No. 19-10141-LTS
(1) SHELLEY M. RICHMOND JOSEPH and                    )
(2) WESLEY MACGREGOR                                  )
                                                      )
                       Defendants.                    )


            JOINT MEMORANDUM PURSUANT TO LOCAL RULE 116.5(b)

       The parties submit this joint memorandum addressing Local Rule 116.5(b).

       1.      An interim status conference is scheduled for July 25, 2019. Due to a conflict in

defendant MacGregor’s counsel’s schedule, the parties respectfully request that the conference be

continued to August 5, 2019. The parties request that the Court hear argument on the two pending

motions at the time of the rescheduled status conference. See ¶¶ 3-4 below.

       2.      The government provided automatic discovery on May 23, 2019. On June 19, the

government produced two items pursuant to the Court’s Discovery Protective Order (Doc. No.

29): the alien file of the person referred to in the indictment as A.S., and a criminal history record

of a government witness. On July 18, the government supplemented its automatic discovery

production with Massachusetts Trial Court training materials for new judges.

       3.      The Defendants’ Joint Motion to Compel Production of Discovery is fully briefed

and awaiting resolution by the Court. See Doc. Nos. 32, 40.

       4.      Defendant Joseph’s Motion for Production and Inspection of Notes Taken by

Government Counsel and Agents During Interviews of Government Witnesses is fully briefed and

awaiting resolution by the Court. See Doc. Nos. 33, 41.

       5.      Defendants’ dispositive motions are due September 6. See Doc. No. 42.


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         6.    The parties agree that the government will provide expert disclosures no later than

30 days before trial and the Defendants will provide expert disclosures no later than 21 days before

trial.

         7.    Neither Defendant anticipates raising a defense of insanity or alibi. Either

Defendant will provide notice of intent to raise any defense of public authority or exemption on or

before September 6, 2019.

         8.    The Court has previously excluded the period from April 25, 2019, until July 25,

2019, for the purposes of the Speedy Trial Act. See Doc. Nos. 14, 26. The parties agree to the

exclusion of the period between July 25 and August 5 pursuant to 18 U.S.C. § 3161(h)(7)(A). The

parties submit that the ends of justice served by permitting defense counsel to review and evaluate

the discovery outweighs the best interest of the public and the Defendants in a speedy trial.

         9.    Through counsel, the government has extended plea offers to the Defendants.

Defendant Joseph rejected the offer extended to her. Defendant MacGregor has not yet responded

to the government regarding the offer extended to him. The parties believe a trial is likely and that

it will last approximately one week.




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                                     Respectfully submitted,

                                              ANDREW E. LELLING
                                              UNITED STATES ATTORNEY

                                              By: /s/ Christine J. Wichers
                                              Dustin Chao
                                              Christine Wichers
                                              Assistant U.S. Attorneys


 SHELLEY M. RICHMOND JOSEPH                          WESLEY MACGREGOR
 By her attorneys,                                   By his attorney,


 /s/ Thomas M. Hoopes                                /s/ Rosemary Scapicchio
 Thomas M. Hoopes                                    Rosemary Scapicchio
 Douglas S. Brooks                                   107 Union Wharf
 LibbyHoopes, P.C.                                   Boston, MA 02109
 399 Boylston Street                                 (617) 263-7400
 Boston, MA 02116
 (617) 338-9300




                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                              /s/ Christine Wichers
                                              Christine Wichers
                                              Assistant U.S. Attorney
Date: July 23, 2019




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